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                  7
                  8                            UNITED STATES DISTRICT COURT
                  9                          CENTRAL DISTRICT OF CALIFORNIA
                10                                     SOUTHERN DIVISION
                11 MATTEL, INC., a Delaware                         CASE NO. CV 04-9049 DOC (RNBx)
                   corporation, et al.,
                12                                                  Consolidated with
                                                                    Case No. CV 04-09059
                13                        Plaintiff,                Case No. CV 05-02727
                14                                                  Hon. David O. Carter
                             vs.
                15                                                  SUPPLEMENTAL DECLARATION
                        MGA ENTERTAINMENT, INC., a                  OF JON COREY IN SUPPORT OF
                16                                                  APPLICATION FOR AN ORDER
                        California corporation, et al.,             UNDER 28 U.S.C. § 1782
                17                                                  COMPELLING ISSUANCE OF
                                         Defendant.                 SUBPOENAS FOR THE TAKING OF
                18                                                  TESTIMONY FOR USE IN A
                                                                    FOREIGN PROCEEDING
                19 AND CONSOLIDATED ACTIONS                         PURSUANT TO LETTER
                                                                    ROGATORY
                20
                                                                    Hearing Date:      TBD
                21                                                  Time:              TBD
                                                                    Place:             TBD
                22
                                                                    Trial:                 January 18, 2011
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                                   SUPPLEMENTAL COREY DECLARATION ISO APPLICATION PURSUANT TO 28 U.S.C. § 1782
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                  1                           DECLARATION OF JON COREY
                  2         I, Jon Corey, declare as follows:
                  3               1.     I am a member of the bars of the State of California, the District
                  4 of Columbia and the State of New York. I am a partner at Quinn Emanuel Urquhart
                  5 & Sullivan, LLP, attorneys for Mattel, Inc. and Mattel de Mexico, S.A. de C.V.
                  6 (“Mattel”). I make this declaration in support of the Application For An Order
                  7 Under 28 U.S.C. § 1782 Compelling Issuance Of Subpoenas For The Taking Of
                  8 Testimony For Use In A Foreign Proceeding Pursuant To Letter Rogatory (the
                  9 “Application”). I make this declaration of personal, firsthand knowledge, and if
                10 called and sworn as a witness, I could and would testify competently thereto.
                11                2.     I met with a representative from the Mexican Consulate in late
                12 February 2011. Since then, I have had regular communications with the same
                13 representative in which he has sought information regarding the status of the
                14 application for the evidence pursuant to the letter rogatory to report to the Mexican
                15 court.
                16                3.     Attached as Exhibit A is a true and correct copy of a letter, dated
                17 June 30, 2011, from me to Jennifer Keller, Tom McConville and Annette Hurst,
                18 counsel for MGA, in which I asked counsel if they could accept service of the
                19 Application and supporting papers on behalf of Jahangir Makabi, Daphne Gronich
                20 and Tom Park. On July 6, 2011, William Molinksi informed me that he did not
                21 know whether counsel for MGA could not accept service on behalf of Mr. Makabi,
                22 Ms. Gronich and Mr. Park, but said he would find out. Mr. Molinski never got back
                23 to me.
                24                4.     I authorized First Legal Support Services to personally serve Mr.
                25 Makabi, Ms. Gronich and Mr. Park. I am informed that on multiple occasions
                26 individuals appeared to be present at each individual’s respective home, but the
                27 servers were still unable to serve the individuals. I am further informed that on July
                28 19, 2011, a process server approached an adult male in a car at the residence
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                               SUPPLEMENTAL COREY DECLARATION ISO APPLICATION PURSUANT TO 28 U.S.C. § 1782
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                  1 confirmed to be that of Mr. Makabi. The adult male saw the process server and
                  2 accelerated rapidly, running over the foot of the process server.
                  3               5.    Attached as Exhibit B is a true and correct copy of an Affidavit
                  4 of Reasonable Diligence by Daniel Reynolds, dated July 15, 2011.
                  5               6.    Attached as Exhibit C is a true and correct copy of an Affidavit
                  6 of Reasonable Diligence by Larry P. Chavez, dated July 15, 2011.
                  7               7.    Attached as Exhibit D is a true and correct copy of the Proof of
                  8 Service, dated July 19, 2011, confirming service of the Application and supporting
                  9 papers on Jahangir Makabi.
                10                8.    Attached as Exhibit E is a true and correct copy of the Proof of
                11 Service, dated July 18, 2011, confirming service of the Application and supporting
                12 papers on Daphne Gronich.
                13                9.    Attached as Exhibit F is a true and correct copy of the Proof of
                14 Service, dated July 15, 2011, confirming service of the Application and supporting
                15 papers on Tom Park.
                16                10.   Attached as Exhibit G is a true and correct copy of excerpts
                17 from the trial transcript in which Mr. Larian testifies about his involvement with
                18 Machado, Vargas and Trueba in Mexico.
                19                I declare under penalty of perjury under the laws of the United States of
                20 America that the foregoing is true and correct.
                21         Executed on July 27, 2011, at Los Angeles, California.
                22
                23                                             /s/ Jon Corey
                                                               Jon Corey
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                               SUPPLEMENTAL COREY DECLARATION ISO APPLICATION PURSUANT TO 28 U.S.C. § 1782
